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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

    UNITED STATES OF AMERICA, ex rel.
    BARBARA BERNIER, et al.

                    Plaintiffs,
                                                             Case No. 6:16-CV-00970-RBD-TBS
                    v.

    INFILAW CORPORATION, et al.

                    Defendants.


        ABA DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS

             Plaintiffs’ exaggerated rhetoric cannot give this Court general or specific personal

    jurisdiction over the ABA, 1 or create a cause of action that courts uniformly hold does not

    exist. The harsh truth is that Plaintiffs have sued the ABA in the wrong jurisdiction asserting

    a claim that is not viable as a matter of law. To avoid this reality, Plaintiffs argue that (1) this

    Court has jurisdiction over the ABA based on a bare allegation that the ABA has “continuous

    and systematic contacts” with Florida and the ABA waived its personal jurisdiction

    arguments by failing to submit evidence with its motion; (2) specific personal jurisdiction

    exists based on the ABA’s past relationship with two InfiLaw employees; and (3) a

    combination of the voluntary undertaking doctrine and the Higher Education Act (“HEA”)

    establish a common-law tort for negligent accreditation. 2 For the reasons explained below,


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      The ABA consists of the Council of the Section of Legal Education and Admissions to the Bar, and the
    Committee of the Section of Legal Education and Admissions to the Bar.
    2
      The discussion of these three issues does not waive the other arguments raised in the ABA’s Motion to
    Dismiss the Second Amended Complaint (the “Motion” or “Mot.”) (ECF No. 86), and does not concede that
    any unaddressed arguments are correct.




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    each of these arguments fails.

      I.     PLAINTIFFS HAVE NOT ALLEGED A PRIMA FACIE CASE FOR
             GENERAL PERSONAL JURISDICTION OVER THE ABA.

             Plaintiffs’ argument on general personal jurisdiction has it backwards. Their

    contention is that the ABA has waived its personal jurisdiction argument by failing to

    produce evidence contradicting the allegations in the Second Amended Complaint. Opp. 8.

    But the ABA is not under any obligation to submit evidence with its Motion. PVC Windoors,

    Inc. v. Babbitbay Beach Constr., N.V., 598 F.3d 802, 810 (11th Cir. 2010).

             At the outset the burden is on Plaintiffs, not the ABA, to “establish[] a prima facie

    case of jurisdiction over the movant, non-resident defendant.” Id. at 810 (internal quotation

    marks omitted). To meet this “threshold requirement,” Plaintiffs must allege facts that, if

    true, would establish personal jurisdiction over the ABA. Id. Only after a “Plaintiff pleads

    sufficient material facts to form a basis for in personam jurisdiction,” does the “burden[] shift

    to Defendants to challenge Plaintiff’s allegations by affidavits or other pleading.”

    Hollingsworth v. Iwerks Entm’t, Inc., 947 F. Supp. 473, 476 (M.D. Fla. 1996).

             The Second Amended Complaint fails at the first step: Plaintiffs have not alleged the

    ABA’s contacts with Florida are “so continuous and systematic as to render [it] essentially at

    home” in Florida. Daimler AG v. Bauman, 571 U.S. 117, 137–139 & n.19 (2014). The

    Second Amended Complaint alleges—without support—that the ABA has “continuous and

    systematic contacts with Florida” through its dealings with Florida law schools, which is

    plainly insufficient to establish general personal jurisdiction under Daimler. See Opp. 8.

    Plaintiffs’ opposition attempts to bolster this bare conclusion by alleging, for the first time,

    that “Florida holds the third highest number of accredited law schools in the nation.” Opp. 9.



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    But general personal jurisdiction based on these bare allegations would lead to exactly the

    sort of “exorbitant” exercises of jurisdiction that Daimler prohibits. Daimler, 571 U.S. at 139

    (rejecting an approach that would permit general jurisdiction “in every other State in which”

    the defendant conducts significant business); see also Mot. 7–9.

     II.     PLAINTIFFS HAVE NOT ALLEGED A PRIMA FACIE CASE OF SPECIFIC
             PERSONAL JURISDICTION.

             For Plaintiffs to allege a prima facie case of specific personal jurisdiction, they must

    show some relationship between their claims and the ABA’s contacts with Florida. In other

    words, Plaintiffs claims must “‘arise out of or relate to’ at least one of the defendant’s

    contacts with the forum.” Aviation One of Fla., Inc. v. Airborne Ins. Consultants (PTY), Ltd,

    722 F. App’x 870, 879 (11th Cir. 2018) (emphasis added). Plaintiffs’ Opposition does not

    even try to connect the ABA’s Florida contacts with Plaintiffs’ purported injuries, but instead

    focuses on contacts between defendant InfiLaw and Florida. This goes nowhere: contacts

    between the forum State and other parties cannot create personal jurisdiction as to the ABA.

    See Walden v. Fiore, 134 S. Ct. 1115, 1122 (2014) (explaining that the Supreme Court has

    “consistently rejected attempts to satisfy the defendant-focused ‘minimum contacts’ inquiry

    by demonstrating contacts between the plaintiff (or third parties) and the forum State”).

             Plaintiffs argue that specific jurisdiction exists because the ABA allegedly had

    “relationships” with Dennis Archer and Jay Conison, who “serve/served in positions focused

    on accreditation” in the ABA at the same time that they served on the Board of InfiLaw.

    Opp. 11. But Archer and Conison cannot create personal jurisdiction as to the ABA for two

    independent reasons. First, the question for specific jurisdiction is whether the ABA had

    contacts with Florida in connection with its supposedly negligent accreditation of Charlotte



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    School of Law (“CSL”). Plaintiffs do not and cannot allege that Archer or Conison played

    any role in the ABA’s accreditation of CSL—so any “relationships” with Archer or Conison

    are irrelevant to specific jurisdiction in this case. Second, what matters for determining

    personal jurisdiction as to the ABA is whether the ABA had contacts with Florida—not

    whether individuals who “served in positions” at the ABA had contacts with Florida.

    Plaintiffs cannot bootstrap any contacts of Archer or Conison (or any “other parties”) into

    personal jurisdiction over the ABA. Walden, 134 S. Ct. at 1122.

             The fact that InfiLaw, CSL’s parent, is headquartered in Florida similarly makes no

    difference. See Opp. 11. Under Plaintiffs’ theory, specific jurisdiction is proper based on the

    fact that InfiLaw controlled CSL such that when the ABA “interfaced with [CSL], in reality,

    they interfaced with Infilaw who [sic] is headquartered in Florida.” Id. But what matters for

    personal jurisdiction is whether the ABA’s allegedly negligent conduct occurred in Florida.

    That the ABA met with InfiLaw does not matter unless the ABA interfaced with InfiLaw in

    Florida. See Walden, 134 S. Ct. at 1122. And even then, the Eleventh Circuit has held that

    “meetings in the forum state . . . will not support specific jurisdiction,” Consol. Dev. Corp. v.

    Sherritt, Inc., 216 F.3d 1286, 1292 (11th Cir. 2000), unless those meetings formed a

    “significant” part of the dispute. See Sea Lift, Inc. v. Refinadora Costarricense de Petroleo,

    S.A., 792 F.2d 989, 993 (11th Cir. 1986).

             The allegations in the Second Amended Complaint fall far short of alleging a prima

    facie case of specific personal jurisdiction over the ABA.

    III.     PLAINTIFFS’ NEGLIGENT ACCREDITATION CLAIM FAILS AS A
             MATTER OF LAW.

             Assuming this Court has personal and subject matter jurisdiction, Plaintiffs’ negligent



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    accreditation claim fails as a matter of law. Plaintiffs concede that no court has ever

    recognized that accreditors owe a common law duty to parties that are not involved in the

    accreditation process, like students and faculty. See Opp. 17; Mot. 14–20. Relying instead on

    the voluntary undertaking doctrine, Plaintiffs argue that the ABA voluntarily assumed a legal

    duty to certify CSL “commensurate with the obligations set forth in Title IV of the HEA.”

    Opp. 16.

             By framing their claim as a tort, Plaintiffs are trying to avoid a uniform body of

    precedent holding that there is no private cause of action under Title IV of the HEA. See

    McCulloch v. PNC Bank Inc., 298 F.3d 1217, 1221 (11th Cir. 2002) (“nearly every court to

    consider the issue in the last twenty-five years has determined that there is no express or

    implied private right of action to enforce any of the HEA’s provisions.”). But Courts have

    routinely rejected attempts, like those by Plaintiffs here, to “circumvent the [HEA’s]

    statutory and regulatory scheme” by recasting their claim as a violation of state law. Cf Gibbs

    v. SLM Corp., 336 F. Supp. 2d 1, 16 (D. Mass. 2004) (holding that plaintiff “cannot

    circumvent the statutory and regulatory scheme by calling his [HEA] claim a breach of

    contract”); see also McCullogh, 298 F.3d at 1226–27 (rejecting “HEA violations pled in

    RICO terms.”). This Court should do the same.

             Moreover, courts have held that the HEA preempts state-law claims based on alleged

    violations of that statute. See, e.g., New York Inst. of Dietetics, Inc. v. Great Lakes Higher

    Educ. Corp., No. 94 Civ. 4858 (LLS), 1995 WL 562189, at *5 (S.D.N.Y. Sept. 21, 1995). So,

    even if a claim against the ABA exists under state common law, the HEA would preempt it

    and Plaintiffs’ claim should be dismissed.




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    Dated: June 27, 2018                   Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

             I hereby certify that on June 27, 2018, I electronically filed the foregoing paper with

    the Clerk of the Court using the ECF system, which will send notification of such filing to all

    counsel of record in this case.


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